       Case 1:23-cv-00009-CRK           Document 66         Filed 07/03/24      Page 1 of 2




             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


  VENTURA COASTAL, LLC,                                   Before:    Hon. Claire R. Kelly,
                           Plaintiff,                                Judge
                   v.
                                                          Court No. 23-00009
  UNITED STATES,
                           Defendant,
                   and,
  LOUIS DREYFUS COMPANY SUCOS
  S.A.,
                          Defendant-Intervenor.


                          NOTICE OF SUBSEQUENT AUTHORITY

        Plaintiff, Ventura Coastal, LLC (“Ventura”), hereby provides the Court with notice of the

following subsequent authority: Loper Bright Enterprises v. Raimondo, Court No. 22-451 (June

28, 2024) (attached).

        Loper Bright is relevant to the Court’s decision in this case. In Loper Bright, the Supreme

Court overturned Chevron U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837

(1984), which had provided deference to an agency’s interpretation of statutes. This opinion

directly bears on the Court’s decision in the instant case, as this case turns in part on the outcome

of the meaning of the statute defining affiliation between two parties. In its brief, the Government

advanced its interpretation of 19 U.S.C. § 1677(33)(C) and (G), which define “partners” and “any

person who controls any other person and such other person,” respectively, as persons who shall

be considered “affiliated.” See Dep’t Justice Brief at 10. The Government cited Chevron for the

proposition that the Court owes deference to the Department of Commerce’s interpretation of this

statute. See id. at 9.
       Case 1:23-cv-00009-CRK           Document 66       Filed 07/03/24      Page 2 of 2




       Following the Supreme Court’s opinion in Loper Bright, Plaintiff submits that the Court

does not owe deference to the Department of Commerce’s interpretation of the definition of

“partners” or “any person who controls any other person and such other person.” See 19 U.S.C. §

1677(33)(C) and (G). Instead, pursuant to Loper Bright, the Court should employ its interpretation

of the term “partners” under the statute.

                                                    Respectfully submitted,

                                                    /s/ Daniel B. Pickard
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Date: July 3, 2024
